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7
8                       IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           No. CR S 10-0223 JAM
                                   )
12                   Plaintiff,    )           STIPULATION AND PROPOSED
                                   )           ORDER FOR CONTINUANCE OF
13        v.                       )           STATUS CONFERENCE
                                   )
14   CONNIE DEVERS,                )
                                   )           Date: June 25, 2013
15                  Defendant.     )           Time: 9:45 a.m.
     ______________________________)           Hon. John A. Mendez
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17
          It is hereby stipulated and agreed to between the United States
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     of America and defendant Connie Devers, by and through their
19
     respective counsel, that the status conference in the above-
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     captioned matter set for Tuesday, June 4, be continued to Tuesday,
21
     June 25, 2013.
22
          As the Court is aware, Ms. Devers was previously severed from
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     her co-defendants after it was found she was physically incapable of
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     standing trial.    A status conference was previously set for June 4,
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     2013, to address her current status.       The parties request that the
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     June 4 date be vacated, and that a status conference be set for
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     Tuesday, June 25, 2013.     The additional time will allow counsel to
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1    obtain a more recent update on Ms. Devers’ condition.             The parties
2    request that the Court exclude from calculation under the Speedy
3    Trial Act the time from the date of the originally set status
4    conference, June 4, 2013, through the date of the status conference
5    set for June 5, 2013, pursuant to 18 U.S.C. § 3161(h)(4) [defendant
6    physically unable to stand trial] (Local Code N).
7    IT IS SO STIPULATED.
8
9    DATE: May 31, 2013             By:    /s/ Philip A. Ferrari
                                               PHILIP A. FERRARI
10                                             Assistant U.S. Attorney
11   DATE: May 31, 2013             By:    /s/ Philip A. Ferrari for
                                               MARK REICHEL
12                                             Counsel for Defendant
                                               CONNIE DEVERS
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14
15
          IT IS ORDERED that the status conference currently set for June
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     4, 2013, is vacated, and a new status conference is set for June 25,
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     2013, at 9:45 a.m.       For the reasons stipulated to by the parties,
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     good cause exists pursuant to 18 U.S.C. §§ 3161(h)(4), and time is
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     excluded under the Speedy Trial Act through June 25, pursuant to
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     local code N.      For the reasons set forth in the stipulation, the
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     interests of justice served by granting this continuance outweigh
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     the best interests of the public and the defendant in a speedy
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     trial.
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25        IT IS SO FOUND AND ORDERED.
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27   DATED: 5/31/2013                     /s/ John A. Mendez
                                          HON. JOHN A. MENDEZ
28                                        UNITED STATES DISTRICT COURT JUDGE

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